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                                 Declaration of Sherri Rowland
                           Office of Hearings Operations, Little Rock
                                 Social Security Administration

       I, SHERRI ROWLAND, Hearing Office Director of the Social Security Administration’s

Little Rock Hearing Office, declare and state as follows:

1.     I have been the Hearing Office Director since 2012. My office is responsible for

processing requests for hearings arising from the claims filed under the Social Security Act,

developing evidence related to those claims, conducting hearings, and issuing decisions.

2.     On or around November 2, 2021, my office received Samantha Head’s request for

hearing and accompanying file related to her claim for Disability Insurance Benefits originally

filed on November 8, 2018.

3.     Hearing office policy dictates that generally claims are scheduled in order of request for

hearing date. As of mid-November 2021, the office was beginning to schedule hearings for

claims with December 2020 request dates for February or March 2022 hearings.

4.     The Agency contacted the claimant's representative, Mickey Stevens, on December 6,

2021 to schedule Ms. Head’s hearing. Mr. Stevens agreed to waive the 75-day notice

requirement. A hearing was scheduled for January 10, 2022. The representative later requested

accommodation for a later hearing time on the scheduled date, which the ALJ granted. On

January 10, 2022, as scheduled, Ms. Head and her representative appeared at the hearing before

the assigned ALJ. Currently, the claim requires no additional development.

       In accordance with 29 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge and belief.

       Dated: January 14, 2022    /s/ Sherri L. Rowland
                                            Sherri Rowland
                                            Hearing Office Director
                                            Office of Hearings Operations, Little Rock
